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10
                                   UNITED STATES DISTRICT COURT
11
                                          DISTRICT OF NEVADA
12

13   DARREN D. CAUDILL,                             )
                                                    )   Case No.: 2:24-cv-00061-MDC
14          Plaintiff,                              )
                                                    )   STIPULATION TO VOLUNTARY
15                  v.                              )   REMAND PURSUANT TO SENTENCE
                                                    )   FOUR OF 42 U.S.C. § 405(g) AND TO
16   MARTIN O’MALLEY,                               )   ENTRY OF JUDGMENT FOR
     Commissioner of Social Security,               )   PLAINTIFF
17                                                  )
            Defendant.                              )
18                                                  )
                                                    )
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21          IT IS HEREBY STIPULATED by and between the parties, through their undersigned

22 attorneys, and with the approval of the Court, that this action be remanded for further administrative

23 action pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C. § 405(g), sentence four.

24          On remand, the Appeals Council will remand the case to an administrative law judge (ALJ) for

25 a new decision. The ALJ will further develop the record as necessary and issue a new decision.

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 1          The parties further request that the Clerk of the Court be directed to enter a final judgment in

 2 favor of Plaintiff, and against Defendant, reversing the final decision of the Commissioner.

 3

 4 Dated: June 20, 2024            Respectfully submitted,

 5                                         LAW OFFICES OF LAWRENCE D. ROHLFING, INC., CPC
 6                                         /s/ Marc V. Kalagian
                                           MARC V. KALAGIAN
 7                                         (*as authorized via email on June 20, 2024)
                                           Attorney for Plaintiff
 8

 9
     Dated: June 20, 2024          Respectfully submitted,
10
                                           JASON M. FRIERSON
11                                         United States Attorney
12                                         /s/ David Priddy
                                           DAVID PRIDDY
13                                         Special Assistant United States Attorney
                                           Attorneys for Defendant
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                                      IT IS SO ORDERED:
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18                                                          HON. MAXIMILIANO D. COUVILLIER, III
                                                            UNITED STATES MAGISTRATE JUDGE
19

20                                                                   6-21-24
                                                            DATED: ___________________________
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 1                                      CERTIFICATE OF SERVICE

 2          I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My

 3 business address is 6401 Security Boulevard, Baltimore, Maryland 21235. I am not a party to the

 4 above-entitled action. On the date set forth below, I caused service of STIPULATION TO
   VOLUNTARY REMAND PURSUANT TO SENTENCE FOUR OF 42 U.S.C. § 405(g) AND TO
 5
   ENTRY OF JUDGMENT FOR PLAINTIFF on the following parties by electronically filing the
 6
   foregoing with the Clerk of the District Court using its ECF System, which provides electronic notice
 7
   of the filing:
 8
           Leonard Stone
 9         Shook & Stone, Chtd.
           710 South 4th Street
10         Las Vegas, NV 89101
           702-385-2220
11         Fax: 702-384-0394
           Email: lstone@shookandstone.com
12
           Marc V. Kalagian
13         Law Offices of Lawrence D. Rohlfing, Inc., CPC
           12631 East Imperial Highway
14         Suite C115
           Santa Fe Springs, CA 90670
15         562-273-3702
           Fax: 562-868-5491
16         Email: marc.kalagian@rksslaw.com
17          Attorneys for Plaintiff
18
            I declare under penalty of perjury that the foregoing is true and correct.
19
            Dated: June 20, 2024
20

21                                                           /s/ David Priddy
                                                             DAVID PRIDDY
22                                                           Special Assistant United States Attorney
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24

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